            Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 1 of 8



          IN THE UNITED STATES DISTRICT COURT FOR ^JLED
                   WESTERN DISTRICT OF OKLAHOMA
                                                                             SEPO 5 2017
                                                                      CARMEUTA REEOER SHINN, CLERK
                                                                                           ST.OKLA
UNITED STATES OF AMERICA,                                                                  ^DEPUTY


      Plaintiff,                                           '•t   i:


      vs.
                                                 No.

RALPH ALLAN LEE SHORTEY,                         Violations:
      a/k/a Brian Tilley,                        18   U.S.C.§2252A(a)(l)
      a/k/a Jamie Tilley,                        18   U.S.C. § 2252A(b){l)
                                                 18   U.S.C. § 2251(a)
      Defendant.                                 18   U.S.C. § 1591(a)(1)
                                                 18   U.S.C. § 1591(b)(2)
                                                 18   U.S.C. § 1591(c)
                                                 18   U.S.C. § 1594(a)


                               INDICTMENT

The Federal Grand Jury charges:

                                 Introduction

     At all times relevant to this Indictment;

     1.      RALPH ALLAN LEE SHORTEY was a resident of Oklahoma

City, in the Western District of Oklahoma.

     2.      SHORTEY used telephone number 405-219-9346 for personal
and business communications, with an AT&T account in his wife's name and
hnked to the Shorteys' home address in Oklahoma City, Oklahoma.
           Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 2 of 8



           SHORTEY's Pseudonyms and Social Media Activities

      3.     On or about August 3, 2010, SHORTEY registered an America

Online ("AOL") email address with username brinokc4u@aol.com. The AOL

email account used screenname Brian Tilley, with a backup email address of

brinokc4u@gmail.com.

      4.     On or about January 19, 2012, SHORTEY connected his

Craigslist account with user ID 93092696 to phone number 405-219-9346.

The email address linked to that Craigslist account in Craigslist's records

was brinokc4u@aol.com.

      5.     On or about June 4, 2012, SHORTEY created a Facebook

account, with vanity name brian.tilley.714, and a screenname shown as

"Brian Tilley." The registered email addresses for the account were

brinokc4u@aol.com and brian.tilley.714@facebook.com, with mobile phone

number 405-219-9346 connected to the account and verified on June 4, 2012.

      6.     On or about July 24, 2012, SHORTEY registered the username

"Brinokc4u" on Kik, a social media application that allows users to send and

receive photos, videos, and text messages. The screenname for the account

was "Jamie Tilley."

      7.     In various Craigslist ads in 2016, SHORTEY requested that

anyone responding to his ads should communicate with him via Kik.
             Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 3 of 8



 SHORTEY advised: "Brinokc4u is my kik name."

                                     COUNT]
                      (Transportation of Child Pornography)
       8.      The Federal Grand Jury incorporates paragraphs 1--7 by
reference.


       9.      On or about October 10, 2013, in the Western District of

Oklahoma and elsewhere,

                          RALPH ALLAN LEE SHORTEY,
                                 a/k/a Brian Tilley,
                                 a/k/a Jamie Tilley,

knowingly transported, and attempted to transport, child pornography using
a means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce, in that SHORTEY used his smartphone
and his brinokc4u@aol.com email account to email a video titled "051st Time

Sex Videos," which depicts a man engaging in sexually expUcit conduct witha
prepubescent girl, to Chubbybuddy6@hotmail.com.

              All in violation of Title 18, United States Code, Sections

2252A(a)(l) and (b)(1).

                                    COUNT 2
                      (Transportation of Child Pornography)
      10.     The Federal Grand Jury incorporates paragraphs 1-7 by
reference.
               Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 4 of 8



         11.     On or about October 15, 2013, in the Western District of

Oklahoma and elsewhere,

                           RALPH ALLAN LEE SHORTEY,
                                a/k/a Brian Tilley,
                                a/k/a Jamie Tilley,

knowingly transported, and attempted to transport, child pornography using
a means and facility ofinterstate and foreign commerce and in and affecting
interstate and foreign commerce, in that SHORTEY used his smartphone
and his brinokc4u@aol.com email account to email a video titled "boy group,"
a video titled "boy groupl," a video titled "young boys f[***]ing," and a video

titled "young boy sucking c[***]," which depict boys engaging in sexually
explicit conduct, to usmclpu87@yahoo.com, with the subject line "Kik" on the

email.


                All in violation of Title 18, United States Code, Sections

2252A(a)(l) and (b)(1).

                                      COUNT 3
                          (Production of Child Pornography)

      12.       The Federal Grand Jury incorporates paragraphs 1-7 by

reference.


      13.       At all times relevant to the Indictment, John Doe was a minor

male, under the age of 18, and born in the year 2000.

      14.       In or around February 2016, SHORTEY began communicating
                                           4
                Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 5 of 8



 with John Doe on Kik regarding a posting on Craigslist. SHORTEY
indicated to Doe that SHORTEY was interested in watching John Doe
perform sex acts with a woman.

          15.     SHORTEY and Doe communicated via Kik, with SHORTEY as
username Brinokc4u, going by the names "Jamie Tilley" and "Brian Tilley."
Between March 2016 and March 2017, SHORTEY communicated with Doe
via Kik frequently.

         16.      Between on or about February 14, 2016, and on or about March 8,
2017, in the Western District of Oklahoma,

                           RALPH ALLAN LEE SHORTEY,
                                    a/k/a Brian Tilley,
                                    a/k/a Jamie Tilley,

employed, used, persuaded, induced, and enticed a minor, namely, John Doe,
to engage in sexually exphcit conduct for the purpose ofproducing a visual
depiction of such conduct, and such visual depiction was actually transported
and transmitted using a means and facility of interstate and foreign
commerce, in that SHORTEY so obtained at least one image ofJohn Doe's
penis.

                 All in violation of Title IS, United States Code, Section 2251(a).
                                       COUNT 4
                                 (Child Sex Trafficking)

         17.     The Federal Grand Jury incorporates paragraphs 1-7 and 13-16
                                            5
             Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 6 of 8



 by reference.

       18.     On or about March 8, 2017, SHOETEY and John Doe

communicated via Kik. During their conversation on Kik on or about March
8, 2017, Doe told SHORTEY, "I need money for spring break." SHORTEY

replied, "I don't really have any legitimate things I need help with right now.
Would you be interested in 'sexual' stuff?" Doe responded, "Yes." The
conversation continued with them discussing logistics of how and where Doe

and SHORTEY would meet. The conversation also included explicit
references to sexual conduct. For example. Doe told SHORTEY, "Hey keep
updated cause I want you bad daddy." SHORTEY responded, "I'm gonna
f[***] you like a good little boy ifyou keep calling me daddy." The message
included a smiley face emoji after the word "boy."

      19.     After midnight on March 9, 2017, SHORTEY sent a message to
Doe, "K, I'll be down the street a couple houses in about 10 minutes or so." At
approximately 12:06 a.m., SHORTEY stated, "135 about to exit 4th." At

approximately 12:13 a.m., SHORTEY sent another message to Doe: "I'm
here." Doe then left his home and got into a vehicle driven by SHORTEY.
After stopping at a Circle K store in Moore, SHORTEY drove Doe to the

Super 8 Motel located at 1520 North Service Road, at 1-35 and 12th Street, in
Moore, Oklahoma. SHORTEY rented Room 120 with his driver Hcense and

                                        6
             Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 7 of 8



credit card.


       20.     At all times relevant to this Indictment, the Super 8 Motel in
Moore served intrastate and interstate travelers. It is a franchise location of

a national hotel chain owned by a publicly-traded corporation headquartered
in New Jersey.

       21.     At approximately 12:55 a.m. on March 9, 2017, Doe's father

called the Moore Police Department, reporting that his son Doe was missing
and had been seen entering a hotel room with an adult male at the Super 8
Motel in Moore, Oklahoma.

       22.     On March 9, 2017, the Moore Police Department dispatched
officers to the Super 8 Motel in Moore, Oklahoma. At approximately 1 a.m.,
Moore Police Officers knocked on the door to Room 120 and SHORTEY

advised them that the occupants were getting dressed. When SHORTEY

opened the door, Doe left the room with his backpack, which contained a

bottle of lotion.

      23.      Inside the room, Moore Police officers found SHORTEY's

backpack. SHORTEY's backpack contained an opened box of condoms and a

laptop computer.

      24.     Between on or around March 8, 2017, and on or around March 9,
2017, in the Western District of Oklahoma, in and affecting interstate
          Case 5:17-cr-00195-D Document 1 Filed 09/05/17 Page 8 of 8



 commerce,


                      RALPH ALLAN LEE SHORTEY,
                                a/k/a Brian Tilley,
                                a/k/a Jamie Tilley,

knowingly recruited, enticed, harbored, transported, obtained, maintained,
patronized, and solicited, by any means, and attempted to do so, John Doe,
having had a reasonable opportunity to observe John Doe, and knowing and
in reckless disregard of the fact that John Doe would be caused to engage in a
commercial sex act. John Doe had not attained the age of 18 years.
             All in violation of Title 18, United States Code, Sections

1591(a)(1), (b)(2), and (o), and Title 18, United States Code, Section 1594(a).


                                       A TRUE BILL



                                           \]M^
                                       F(^REPERSON OF THE GRAND JURY

MARK A. YANCEY
United States Attorney
               Qa.
K. McKENZIE ANDERSON
BRANDON HALE
Assistant United States Attorneys




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